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UNITED STATES DISTRICT COURT

WESTERN DISTRICT OF TENNEssEE 95 JUN ,_9
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ROBEHT F§ l_)§ '§F.OLIO

TERRY OTTOWAY, ) CLEF§§“. '! ‘:` filjt`. CT.
) WD. OF TN, ME_MPHB
Plaintirf )
)
v. )
) No. 99-1286 Bre-P
CORRECTIONS CORPORATION )
OF AMERICA, et al., )
)
Defendants )

 

AGREED ORDER HOLDING DEADLINES IN ABEYANCE

 

lt appears to the satisfaction of the Court that the parties have agreed, as
evidenced by the signatures of counsel for all parties below, that all deadlines be held in
abeyance until after a scheduled Status Conference On June 24, 2005. This matter being
agreeable With the Court, it is hereby,

ORDERED, that all current deadlines are held in abeyance until after the
scheduled Status Ccnference en June 24, 2005.

Dated: this el day of ._) \)M ,2005.

`t:?§@~»~

-J--DA-N-I-EI:-B'REE'N 'T¢;, m Phqm
UN]TED STATES-B-I-S:PRI€-"PJUDGE

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APPROVED FOR ENTRY:

This document entered on the docket sheeti cornch
with acre 58 and/ur rsra) FacP on _ . 5

 

 

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Honorable .l. Breen
US DISTRICT COURT

